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                        UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

DANON J. DOYLE,                               : Civil Action No. 2:17-cv-02430-MSG
                                              :
                 Plaintiff,                   : Honorable Mitchell S. Goldberg
                                              :
v.                                            :
                                              :
MERRICK BANK CORP.,                           :
                                              :
                 Defendant.                   :

                              REPORT OF RULE 26(f) MEETING

        In accordance with Federal Rule of Civil Procedure 26(f), Plaintiff Danon J. Doyle

(“Doyle”) and counsel for Defendant, Merrick Bank Corporation (“Merrick Bank”), conferred on

September 12, 2017, and submit the following report of their meeting for the Court’s

consideration:

A.      Initial Disclosures

        Plaintiff served Initial Disclosures required by Rule 26(a)(1) on September 5, 2017.

        Defendant served Initial Disclosures required by Rule 26(a)(1) on August 28, 2017.

B.      Discovery Plan

        Plaintiff:

        Defendant’s discovery will be directed primarily to the grant of prior express consent to

call the telephone number at issue, the absence of a revocation of consent, and the number of

relevant calls the Plaintiff received.

        The parties propose fact discovery to be completed by January 31, 2017.

        The parties do not anticipate any expert discovery at this time.

C.      Other Items

        The parties propose a dispositive motions deadline of March 31, 2017.
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       The parties propose a tentative pre-trial conference date of April 2018.

       The parties propose a tentative trial date of May 2018.

D.     Early Settlement or Resolution

       Settlement discussions between the parties are ongoing.



Dated: September __, 2017

Respectfully submitted,                             Respectfully submitted,


s/ __________________________                       /s/ Richard J. Nalbandian_____________
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                                                    Counsel for Defendant
                                                    Merrick Bank Corporation




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